                                      United States Bankruptcy Court
                                        Northern District of Ohio
In re:                                                                                  Case No. 17-16712-aih
John C. Yasch                                                                           Chapter 13
Toni K. Yasch
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0647-1           User: nbrow                  Page 1 of 2                   Date Rcvd: Nov 28, 2017
                               Form ID: 309I                Total Noticed: 41


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 30, 2017.
db/db          +John C. Yasch,    Toni K. Yasch,    13407 Sherry Avenue,   Cleveland, OH 44135-2150
aty            +Stephen R. Franks,    Manley Deas Kochalski LLC,    PO Box 165028,    Columbus, OH 43216-5028
25162913       +Attorney General of The US,     950 Pennsylvania Avenue, NW,    Washington, DC 20530-0009
25162914       +Blue Green Corp.,    4960 Conference Way N #100,    Attn: President,    Boca Raton, FL 33431-4413
25162920       +Cleveland Clinic,    Attn: Tom Mihaljevic, CEO,    9500 Euclid Avenue,    Cleveland, OH 44195-0002
25162921       +Craig Relman, Esq.,    23811 Chagrin Blvd, #160,    Beachwood, OH 44122-5525
25162924       +Cuyahoga County Clerk of Court,     1200 Ontario Street,   Case No: 17CJ813542,
                 Cleveland, OH 44113-1610
25162925       +Dept of Ed/Navient,    Attn: A. Wayne Johnson, COO,    123 Justison Street, 3rd Fl,
                 Wilmington, DE 19801-5360
25162926       +FFCC,   24700 Chagrin Blvd, #205,     Beachwood, OH 44122-5630
25162927       +Firestone,    Attn: Gary Garfield, CEO,    50 Century Blvd.,    Nashville, TN 37214-3672
25162929        Great American Finance,    20 North Upper Wacker Drive, #2275,     Chicago, IL 60606
25162932       +JC Penney’s,    Attn: Marvin Ellison, CEO,    6501 Legacy Drive,    Plano, TX 75024-3698
25162933       +Kerrie Williams,    26134 RAIN TREE BLVD,    Olmsted Falls, OH 44138-2764
25162935        Office of the US Attorney,    Attn: Bankruptcy Section,    801 West Superior Ave #400,
                 Cleveland, OH 44113-1852
25162938       +PNC Bank,    Attn: William Demchak, CEO,    300 Fifth Avenue,    Pittsburgh, PA 15222-2401
25162939       +PNC Mortgage,    P.O. Box 8703,    Dayton, OH 45401-8703
25162937       +Pennsylvania Higher Education,     Attn: James Preston, President/CEO,    1200 North 7th Street,
                 Harrisburg, PA 17102-1419
25162941       +Robert M. Stern MD,    29101 Health Campus Dr # 340,,    Westlake, OH 44145-5267
25162945       +Univeristy Hospital Parma Med. Cnt,     Thomas F. Zenty III, CEO,    11100 Euclid Avenue,
                 Cleveland, OH 44106-1716
25162946       +University Case Medical Cnt,     Thomas F. Zenty III, CEO,    11100 Euclid Avenue,
                 Cleveland, OH 44106-1716
25162947       +Value City Furniture Corp Headq.,     Attn: Jay Schottenstein, Principal,    4300 E 5th Avenue,
                 Columbus, OH 43219-1816

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: docket@ohbksource.com Nov 28 2017 21:45:33        William J. Balena,
                 30400 Detroit Road,    Suite 106,   Westlake, OH 44145
tr             +E-mail/Text: number@trust13.com Nov 28 2017 21:46:48        Lauren A Helbling,    200 Public Square,
                 #3860,   Cleveland, OH 44114-2322
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Nov 28 2017 21:46:16        Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
cr             +EDI: PRA.COM Nov 28 2017 21:23:00      PRA Receivables Management, LLC,      PO Box 41021,
                 Norfolk, VA 23541-1021
25162916       +E-mail/Text: bankruptcynotices@cbecompanies.com Nov 28 2017 21:47:42         CBE Group Inc,
                 1309 Technology Pkwy,    Cedar Falls, IA 50613-6976
25162919        Fax: 614-760-4092 Nov 28 2017 22:12:05       CheckSmart,    Attn: James Frauenberg II, Presiden,
                 7001 Post Road, Suite 200,     Dublin, OH 43016
25162918        Fax: 614-760-4092 Nov 28 2017 22:12:05       CheckSmart,    Attn: President,
                 7001 Post Road, Suite 200,     Dublin, OH 43016
25162915       +E-mail/Text: bankruptcy@cavps.com Nov 28 2017 21:47:38        Cavalry SPV I, LLC,
                 500 Summit Lake Drive, #400,    Valhalla, NY 10595-1340
25162917       +E-mail/Text: kcathey@cbscinc.com Nov 28 2017 21:48:30        Centralized Business Solutions,
                 P.O. Box 2714,   North Canton, OH 44720-0714
25162922       +E-mail/Text: kcathey@cbscinc.com Nov 28 2017 21:48:30        Credit Bureau of Stark,
                 Attn: Alex A. Gonyias, President,    6973 Promway Ave NW,     North Canton, OH 44720-7321
25162923       +EDI: CRFRSTNA.COM Nov 28 2017 21:23:00       Credit First National Assoc.,
                 Attn: Brian Zempel, CEO & President,    6275 Eastland Road,     Brookpark, OH 44142-1399
25162928       +EDI: PHINAMERI.COM Nov 28 2017 21:23:00       GM Financial,    P.O. Box 181145,
                 Arlington, TX 76096-1145
25162931        EDI: IRS.COM Nov 28 2017 21:23:00      Internal Revenue Service,     Insolvency Group 6,
                 1240 East Ninth Street, Room 493,    Cleveland, OH 44199
25162934       +EDI: CBSKOHLS.COM Nov 28 2017 21:23:00       Kohl’s,   Attn: Kevin Mansell, CEO,
                 N56 W17000 Ridgewood Drive,    Menomonee Falls, WI 53051-7096
25162936        EDI: AGFINANCE.COM Nov 28 2017 21:23:00       Onemain Financial,
                 Attn: Jay Levine, President/CEO,    601 N.W. Second Street,     Evansville, IN 47708-1013
25162940       +E-mail/PDF: RACBANKRUPTCY@BBANDT.COM Nov 28 2017 21:43:27        Regional Acceptance Corp.,
                 Attn: W. R. Stallings Sr,    President/CEO,    1424 East Fire Tower Road,
                 Greenville, NC 27858-4105
25162942        EDI: HCA2.COM Nov 28 2017 21:23:00      Southwest General Hosptial,
                 Attn: William Young, President/CEO,    18697 Bagley Road,     Middleburg Heights, OH 44130-3497
25162943       +EDI: RMSC.COM Nov 28 2017 21:23:00      Sychrony Bank,     Attn: Margaret Keane, President/CEO,
                 170 West Election Road, Suite 125 i,    Draper, UT 84020-6425
25163816       +EDI: RMSC.COM Nov 28 2017 21:23:00      Synchrony Bank,     c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
25162944       +EDI: WTRRNBANK.COM Nov 28 2017 21:23:00       Target,    Attn: Brian Cornell, CEO,
                 1000 Nicollet Mall,    Minneapolis, MN 55403-2542
                                                                                                TOTAL: 20



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                                      Form ID: 309I                      Total Noticed: 41


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                PNC Bank, National Association
25162930*         Internal Revenue Service,    P.O. Box 7346,  Attn: Central                    Insolvency Group,
                   Philadelphia, PA 19101-7346
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 30, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 27, 2017 at the address(es) listed below:
              Lauren A Helbling   ch13trustee@ch13cleve.com, lhelbling13@ecf.epiqsystems.com
              Stephen R. Franks   on behalf of Creditor   PNC Bank, National Association amps@manleydeas.com
              William J. Balena   on behalf of Debtor Toni K. Yasch docket@ohbksource.com, debra@ohbksource.com
              William J. Balena   on behalf of Debtor John C. Yasch docket@ohbksource.com, debra@ohbksource.com
                                                                                            TOTAL: 4




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Information to identify the case:
Debtor 1                 John C. Yasch                                                          Social Security number or ITIN    xxx−xx−3375

                         First Name    Middle Name    Last Name                                 EIN    _ _−_ _ _ _ _ _ _
Debtor 2                 Toni K. Yasch                                                          Social Security number or ITIN    xxx−xx−0398
(Spouse, if filing)
                         First Name    Middle Name    Last Name                                 EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court         Northern District of Ohio
                                                                                                Date case filed for chapter 13 11/13/17
Case number:          17−16712−aih



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/15


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                               About Debtor 1:                                              About Debtor 2:
1. Debtor's full name                          John C. Yasch                                                Toni K. Yasch

2. All other names used in the
   last 8 years
                                                                                                            aka Toni K. Kemnitz

                                               13407 Sherry Avenue                                          13407 Sherry Avenue
3. Address                                     Cleveland, OH 44135                                          Cleveland, OH 44135
                                               William J. Balena                                            Contact phone (440) 365−2000
4. Debtor's  attorney
   Name and address
                                               30400 Detroit Road
                                               Suite 106
                                                                                                            Email: docket@ohbksource.com

                                               Westlake, OH 44145

5. Bankruptcy trustee                          Lauren A Helbling                                            Contact phone (216) 621−4268
     Name and address                          200 Public Square
                                               #3860
                                               Cleveland, OH 44114−2321

6. Bankruptcy clerk's office                                                                                Hours open 9:00 AM − 4:00 PM
     Documents in this case may be filed       United States Bankruptcy Court                               Contact phone 216−615−4300
     at this address.                          Howard M. Metzenbaum U.S. Courthouse                         Date: 11/28/17
     You may inspect all records filed in      201 Superior Avenue
     this case at this office or online at     Cleveland, OH 44114−1235
      www.pacer.gov
     www.ohnb.uscourts.gov
                                                                                                                  For more information, see page 2




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Debtor John C. Yasch and Toni K. Yasch                                                                                              Case number 17−16712−aih

7. Meeting of creditors
    Debtors must attend the meeting to     January 3, 2018 at 09:00 AM                                        Location:
    be questioned under oath. In a joint                                                                     341 Meeting, H.M.M. US Courthouse, 201
    case, both spouses must attend.                                                                          Superior Ave, 6th Floor, Cleveland, OH 44114
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                                    *** Valid photo identification required ***
                                                *** Proof of Social Security Number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 3/5/18
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 4/3/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 5/14/18
                                           claim:
                                                                                                                    Filing deadline: 7 days before the
                                           Deadline to File an Objection to Confirmation:                           confirmation hearing date.



                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan or a summary of the plan is enclosed. The hearing on confirmation will be
                                           held on:
                                           2/15/18 at 01:00 PM, Location: H.M. Metzenbaum Courthouse, 201 Superior Avenue, Courtroom #1A,
                                           Cleveland, OH 44114
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                           later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                           hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




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